Case 1:20-cr-00153-RBJ Document 31 Filed 04/25/22 USDC Colorado Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00153-RBJ

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2.     CARLOS FONG ECHAVARRIA,

     Defendant.



          UNOPPOSED MOTION TO CONTINUE THE MOTIONS DEADLINE



       MR. CARLOS FONG ECHAVARRIA, by and through his attorney, Timothy P.

O’Hara, respectfully requests that the deadline for filing pretrial motions be extended by

four days, from April 25, 2022, until April 29, 2022. The request is unopposed by the

government.

1.     On January 24, 2022, undersigned counsel filed “Defendant’s Second Unopposed

Motion to Exclude One Hundred Twenty (120) Days from the Speedy Trial Calculation,”

requesting an exclusion of time under the Speedy Trial Act and an extension of the

deadline for filing pretrial motions. See Doc. 28. As noted in the Second Unopposed

Motion, the present case should be considered complex due to the amount of discovery

and complex nature of the case. See id. at p. 4.

2.     On January 25, 2022, the Court granted the aforementioned Unopposed Motion

[Doc. 28] and reset the deadlines/dates. See Doc. 29. The Court set the new Motions


                                            1
Case 1:20-cr-00153-RBJ Document 31 Filed 04/25/22 USDC Colorado Page 2 of 3




Deadline for April 25, 2022, and a Status Conference for May 11, 2022. See id. No trial

date is currently set.

3.     Undersigned counsel requires additional time to review the discovery materials

and consult with Mr. Echavarria. Undersigned counsel intends on filing a third motion to

exclude time from the speedy trial calculation.

4.     Undersigned counsel requests that the deadline for filing pretrial motions be

extended by a period of four days, or until April 29, 2022. This will allow undersigned

counsel additional time to consult with Mr. Echavarria about the plan going forward and

to ensure that he has no objection to an additional extension of the speedy trial deadline.

5.     Undersigned counsel advised counsel for the government of the present request

and she has no objection.

       WHEREFORE, undersigned counsel requests that the current deadline for filing

pretrial motions be extended from April 25, 2022, until April 29, 2022.


                                         Respectfully submitted,

                                         VIRGINIA L. GRADY
                                         Federal Public Defender

                                         s/ Timothy P. O’Hara
                                         TIMOTHY P. O’HARA
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                                            2
Case 1:20-cr-00153-RBJ Document 31 Filed 04/25/22 USDC Colorado Page 3 of 3




                             CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2021, I electronically filed the foregoing
UNOPPOSED MOTION TO CONTINUE THE MOTIONS DEADLINE with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the
following e-mail addresses:

      Andrea Surratt
      Assistant U.S. Attorney
      Email: Andrea.Surratt@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Carlos Fong Echavarria     (U.S. Mail)



                                        s/ Timothy P. O’Hara
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                                        Email: timothy_ohara@fd.org
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                                           3
